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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


   JENS H. S. NYGAARD

   Plaintiff,

   v.                                              Civil Action No. 6:20-cv-00234-ADA

   FÉDÉRATION INTERNATIONALE DE
   L’AUTOMOBILE, FORMULA ONE
   MANAGEMENT LTD., FORMULA ONE                    JURY TRIAL REQUESTED
   WORLD CHAMPIONSHIP, MERCEDES
   BENZ GRAND PRIX LTD., DAIMLER AG,
   LEWIS HAMILTON, RED BULL
   TECHNOLOGY LTD., RED BULL RACING
   LTD., FERRARI S.P.A., CHARLES
   LECLERC, AND DALLARA AUTOMOBILI
   S.P.A,

   Defendants.

                                         ORDER


        Before the Court is DEFENDANTS’ PARTIAL MOTION FOR SUMMARY

JUDGMENT OF NON-INFRINGEMENT. Having considered the papers and the arguments of

counsel, the Court is of the opinion that Defendants’ Motion should be GRANTED.

        It is therefore ORDERED that DEFENDANTS’ PARTIAL MOTION FOR SUMMARY

JUDGMENT OF NON-INFRINGEMENT is GRANTED.

        IT IS SO ORDERED.

        SIGNED this _____ day of _____________, 2022.


                                                 _________________________________
                                                 ALAN D. ALBRIGHT
                                                 UNITED STATES DISTRICT JUDGE
